Case: 09-50323 Document:145 Page:1 Date Filed: 12/14/2009

No. 09-50323

IN THE
UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

UNITED STATES OF AMERICA,
Plaintiff-Appellee,

Vv.

SAID FRANCISCO HERRERA, also known as Shorty; ARTURO
ENRIQUEZ, also known as Tury; MANUEL CARDOZA, also known as
Tolon; CARLOS PEREA, also known as Shotgun; EUGENE MONA, also
known as Gino; BENJAMIN ALVAREZ, also known as T-Top
Defendants-Appellants.

Appeal from the United States District Court
for the Western District of Texas

RECORD EXCERPTS

In connection with the brief filed
for Carlos Perea, also known as Shotgun

John D. Gates

1700 N. Stanton

El Paso, Texas 79902

(915) 532-3638

Fax (915) 545-1066

Attorney for defendant-appellant
Carlos Perea

(Electronic Version also Filed)
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Judgment/Sentence............ cee eee CR, pp. 1607-1612

Certificate of Service
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TAB 1
Docket Sheet
Case: 09-50323 Document:145 Page:4 Date Filed: 12/14/2009

CLOSED, APPEAL
US. District Court [LIVE]
Western District of Texas (E] Paso)
CRIMINAL DOCKET FOR CASE #: 3:08-cr-00059-DB-1
Case Title: USA v. Perea Date Filed: 1/9/2008

Other court case number(s): None
Magistrate judge case number(s): None

Assigned to: Judge David Briones
Referred to:

Defendant

Carlos Perea (1) represented by John David Gates
1700 N. Stanton
El Paso, TX 79902
(915)532-3638
Fax: 915/545-1066
Email: johndgates @ gmail.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: CJA Appointment

Gary B. Weiser

Attorney at Law

521 Texas Avenue

El Paso, TX 79901

(915) 544-0880

Fax: 915/544-8091

Email: gbwlaw @yahoo.com
TERMINATED: 6/8/2009
Designation: CJA Appointment

. aka
Shotgun

(1)
TERMINATED: 4/15/2009

Pending Counts Disposition

EXTORTION, RACKETEERING, AND Life imprisonment, 5 years supervised
THREATS in violation of Title 18 USC, release, $100 S/A, concurrent to Count(s)
Section(s) 1962(c) 2, 4 & 5, consecutive to

(1) EP-01-CR-1437-DB, and $2,500.00

USCAS 1
Case: 09-50323

RACKETEERING - NARCOTICS in
violation of Title 18 USC, Section(s)
1962(d)

(2 }

LAUNDERING OF MONETARY
INSTRUMENTS in violation of Title 18
USC, Section(s)
1956(a)(1)(A)G)(B)G)&(h)

(4)

CONSPIRACY TO POSSESS

CONTROLLED SUBSTANCE with intent
to distribute heroin, cocaine & marijuana

(3)

Highest Offense Level (Opening)

Felony

Terminated Counts

Complaints

None

Document: 145

Page: 5

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Life imprisonment, 5 years supervised
release, $100 S/A, concurrent to Count(s)
1,4 & 5, consecutive to
EP-01-CR-1437-DB

Life imprisonment, 5 years supervised
release, $100 S/A, concurrent to Count(s)
1, 2 & 5, consecutive to
EP-01-CR-1437-DB

Life imprisonment, 5 years supervised
release, $100 S/A, concurrent to Count(s)
1,2 & 4, consecutive to
EP-01-CR-1437-DB

Disposition

Disposition

Plaintiff

represented by Jose Luis Acosta

U.S. Attorney's Office

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FE] Paso, TX 79901

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LEAD ATTORNEY

ATTORNEY TO BE NOTICED

USCAS 2
Case: 09-50323 Document:145 Page:6 Date Filed: 12/14/2009

Joseph H. Gay, Jr.

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LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Filing Date # Docket Text
1/9/2008 201 MOTION to Seal Indictment/Information by USA as to Carlos Perea. (rrv, )
(p.23) (Entered: 2/15/2008)
1/9/2008 202 ORDER granting [201] Motion to Seal Indicment as to Carlos Perea (1). Signed
(p.26) by Judge Norbert J. Garney. (rrv, ) (Entered: 2/15/2008)
1/9/2008 SEALED Indictment filed (Redacted Version) Unredacted document sealed
(p.28) 203 | pursuant to E-Government Act of 2002 as to Carlos Perea (1) count(s) 1, 2, 3, 4, 5.
P- (Attachments: # (1) Sealed Indictment cont.) (trv, ) (Entered: 2/15/2008)
1/9/2008 205 ORDER FOR ISSUANCE OF Bench Warrant as to Carlos Perea. Signed by
(p.53) Judge Norbert J. Garney. (rrv, ) (Entered: 2/15/2008)
1/9/2008 206 Warrant Issued as to Carlos Perea. (rrv, } (Entered: 2/15/2008)
{p.54)
1/15/2008 219 Detainer Lodged as to Carlos Perea (rrv, ) (Entered: 2/15/2008)
(p.56)
1/31/2008 294 Detainer Lodged as to Carlos Perea (rrv, ) (Entered: 2/15/2008)
(p.57)
2/11/2008 295 MOTION to Detain Defendant without Bond by USA as to Carlos Perea. (rrv, )
(p.59) (Entered: 2/15/2008)
3/13/2008 Arrest of Carlos Perea (rrv, ) (Entered: 2/15/2008)
9/13/2008 INDICTMENT UNSEALED as to Carlos Perea (rrv, ) (Entered: 2/15/2008)
NOTICE OF HEARING as to Carlos Perea, Manuel Cardoza, Benjamin Alvarez
2/13/2008 23] Arraignment set for 2/19/2008 03:30 PM before Judge Michael S. McDonald.
(p.61) Detention Hearing set for 2/19/2008 03:30 PM before Judge Michael S.

McDonald. (rrv, } (Entered: 2/15/2008)

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Minute Entry for proceedings held before Judge Michael S. McDonald:Initial
Appearance as to Carlos Perea, Manuel Cardoza, Benjamin Alvarez held on
2/13/2008 (Minute entry documents are not available electronically.) (Court
Reporter ero.) (rrv, } (Entered: 2/15/2008)

2/13/2008

ORAL ORDER OF TEMPORARY DETENTION: Bond set to no bond set as to
2/13/2008 Carlos Perea, Manuel Cardoza, Benjamin Alvarez. Signed by Judge Michael S.
McDonald. (rrv, ) (Entered: 2/15/2008)

2/14/2008 204 Personal Data Sheet (Redacted) by USA as to Carlos Perea (rrv, ) (Entered:
(p.62) 2/15/2008)
2/14/2008 28 CJA 20 as to Carlos Perea: Appointment of Attorney Gary B. Weiser for Carlos
(p.64) Perea.. Signed by Judge Michael S. McDonald. (rrv, ) (Entered: 2/15/2008)
‘ob > 232 | Notice of Arrest to CRD Cabrera as to Carlos Perea (trv, } (Entered: 2/19/2008)
2/19/2008 ORDER SETTING as to Carlos Perea, Manuel Cardoza, Benjamin Alvarez, {
(7.66) 235 | Docket Call set for 3/7/2008 08:30 AM before Judge David Briones.). Signed by
P- Judge David Briones. (rv, } (Entered: 2/19/2008)
os) 239 | WAIVER of Detention Hearing by Carlos Perea {rrv, ) (Entered: 2/20/2008)
2/20/2008 237 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not Guilty
(p.68) by Carlos Perea (rrv, ) (Entered: 2/20/2008)
2/20/2008 238 General ORDER of Discovery as to Carlos Perea. Signed by Judge David
(p.69) Briones, (rrv, ) (Entered: 2/20/2008)
2/20/2008 240 ORDER OF DETENTION: Bond set to detain w/out bond as to Carlos Perea.
(p.73) Signed by Judge Michael $. McDonald. (rrv, ) (Entered: 2/20/2008)
MOTION for Disclosure LIMITED DISCLOSURE OF INDICTMENT by USA as
2/25/2008 to Eric Saucedo, Eugene Mona, Jose Martin Garcia, Danny Tarin, Said Francisco
(0.75) 250 | Herrera, Johnny Michelletti, Arturo Enriquez, Gustavo Gallardo, Roberto Duran,
P- Adam Munoz, Sandy Valles New, Carlos Perea, Manuel Cardoza, Benjamin
Alvarez. (Acosta, Jose) (Entered: 2/25/2008)
ORDER granting [250] Motion for Disclosure as to Carlos Perea (1), Manuel
Cardoza (2), Benjamin Alvarez (3), Gustavo Gallardo (6), Eugene Mona (7), Jose
2/27/2008 254 Martin Garcia (8), Roberto Duran (9), Danny Tarin (10), Johnny Michelletti (11),
(p.79) Said Francisco Herrera (12), Adam Munoz (13), Eric Saucedo (14), Arturo
Enriquez (15), Sandy Valles New (16). Signed by Judge David Briones. (rrv, )
(Entered: 2/27/2008)
3/4/2008 263 | MOTION To Designate Case as "Unusual and Complex" and Tolling of Speedy
(p.80) Trial Provisions by USA as to Eric Saucedo, Eugene Mona, Jose Martin Garcia,

Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo Enriquez,
GustavoGallardo, Roberto Duran, Adam Munoz, Sandy Valles New, Carlos

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Perea, Manuel Cardoza, Benjamin Alvarez. (Acosta, Jose) (Entered: 3/4/2008)
3/6/2008 270 Notice of Arrest from U.S. Marshals Service as to Carlos Perea (rrv, ) (Entered:
(p.86) 3/6/2008)
3/6/2008 771 Warrant Returned Executed on 2/13/08 as to Carlos Perea. (rrv, ) (Entered:
(p.87) 3/6/2008)
ORDER GRANTING [263] Motion Designate Case Complex and Tolling of
Speedy Trial Provisions as to Carlos Perea (1), Manuel Cardoza (2), Benjamin
3/7/2008 477 Alvarez (3), Gustavo Gallardo (6), Eugene Mona (7), Jose Martin Garcia (8),
(p.88) Roberto Duran (9), Danny Tarin(10), Johnny Michelletti (11), Said Francisco
Herrera (12), Adam Munoz (13), Eric Saucedo (14), Arturo Enriquez (15), Sandy
Valles New (16). Signed by Judge David Briones. (trv, ) (Entered: 3/7/2008)
Minute Entry for proceedings held before Judge David Briones:Docket Call as to
Eric Saucedo, Eugene Mona, Jose Martin Garcia, Danny Tarin, Said Francisco
3/7/2008 Herrera, Johnny Michelletti, Arturo Enriquez, Gustavo Gallardo, Roberto Duran,
(7.90) 273 | Adam Munoz, Sandy Valles New, Carlos Perea, Manuel Cardoza, Benjamin
P. Alvarez held on 3/7/2008. Docket Call reset. (Minute entry documents are not
available electronically.) (Court Reporter M.S.Briggs.) (rv, ) (Entered:
3/10/2008)
ORDER TO CONTINUE - Ends of Fustice as to Eugene Mona, Jose Martin
3/19/2008 Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Gustavo
(p.94) 279 | Gallardo, Roberto Duran, Adam Munoz, Carlos Perea, Manuel Cardoza,
P- Benjamin Alvarez, { Docket Call set for 5/2/2008 08:30 AM before Judge David
Briones.), Signed by Judge David Briones. (rrv, } (Entered: 3/20/2008)
4/29/2008 311 MOTION for Protective Order by USA as to Carlos Perea. (Acosta, Jose)
(p.95) (Entered: 4/29/2008)
4/29/2008 MOTION to Compel /Defendant's Natural Voice and Natural Handwriting and
(p.100) 312 | Handprinting Examples by USA as to Carlos Perea. (Acosta, Jose) (Entered:
P- 4/29/2008)
MOTION for Reasonable Visitations with his Family and for General Mail and
Telephone Correspondence with his Family by Carlos Perea as to Eric Saucedo,
5/1/2008 316 Eugene Mona, Jose Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny
(p.105) Michelletti, Arturo Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz,
Sandy Valles New, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel
Angel Esqueda. (Weiser, Gary) (Entered: 5/1/2008)
Minute Entry for proceedings held before Judge David Briones:Docket Call as to
5/2/2008 318 Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda held on
(p. 109) 5/2/2008. Docket Call reset. (Minute entry documents are not available
electronically.) (Court Reporter M.S.Briggs.) (trv, ) (Entered: 5/2/2008)
5/9/2008 327 | ORDER TO CONTINUE - Ends of Justice as to Eric Saucedo, Eugene Mona,
(p.110) Jose Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti,
Arturo Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles

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Case: 09-50323 Document:145 Page:9 Date Filed: 12/14/2009

New, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda, (
Docket Call set for 7/11/2008 08:30 AM before Judge David Briones.). Signed by
Judge David Briones. {rrv, ) (Entered: 5/9/2008)

5/14/2008
(p.111)

329

ORDER GRANTING IN PART AND DENYING IN PART [316] Motion For
Reasonable Visitations With His Family And For General Mail And Telephone
Correspondence With His Family as to Carlos Perea (1). Signed by Judge David
Briones. (rrv, } (Entered: 5/14/2008)

5/14/2008

Notice of Correction: regarding Order Granting In Part/Denying In Part
(document #329) Order applies to ALL Defendants in cause number
EP-08-CR-59-DB / USA vs Carlos Perea, et al. (rrv, } (Entered: 5/14/2008)

5/14/2008
(p.115)

330

Order received by U.S. Marshals regarding “Motion for Visitation" by Carlos
Perea. Order refers to Eric Saucedo, Eugene Mona, Jose Martin Garcia, Danny
Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo Enriquez, Gustavo
Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New, Manuel Cardoza,
Benjamin Alvarez, Miguel Angel Esqueda, and related cases EP-08-CR-61-DB,
EP-08-CR-62-DB, EP-08-CR-66-DB, EP-08-CR-68-DB, and EP-08-CR-69-DB.
(rv, ) (Entered: 5/14/2008)

5/19/2008
(p.119)

332

ORDER GRANTING Government's [311] Motion for Protective Order as to
Carlos Perea (1). Signed by Judge David Briones. (rrv, ) (Entered: 5/21/2008)

5/21/2008
(p.120)

334

MOTION to Appoint Investigator by Sandy Valles New as to Eric Saucedo,
Eugene Mona, Jose Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny
Michelletti, Arturo Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz,
Sandy Valles New, CarlosPerea, Manuel Cardoza, Benjamin Alvarez, Miguel
Angel Esqueda. (Revelette, Nancy) (Entered: 5/21/2008)

5/22/2008
(p.124)

336

ORDER RESETTING as to Eric Saucedo, Eugene Mona, Jose Martin Garcia,
Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo Enriquez,
Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New, Carlos
Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Ange) Esqueda, ( Docket Call
reset for 7/10/2008 08:30 AM before Judge David Briones.). Signed by Judge
David Briones. (rrv, ) (Entered: 5/23/2008)

5/27/2008
(p.126)

338

ORDER GRANTING [312] Motion to Compel Voice and Natural Handwriting
and Hand Printing Exemplars as to Carlos Perea (1). Signed by Judge David
Briones. (mm1, ) (Entered: 5/27/2008)

5/28/2008
(p.127)

339

ORDER permitting defts limited telephonic and in-person communication as to
Eric Saucedo, Eugene Mona, Jose Martin Garcia, Danny Tarin, Said Francisco
Herrera, Johnny Michelletti, Arturo Enriquez, Gustavo Gallardo, Roberto Duran,
Adam Munoz, Sandy Valles New, Carlos Perea, Manuel Cardoza, Benjamin
Alvarez, Miguel Angel Esqueda. Signed by Judge David Briones. (1c3, ) (Entered:
5/28/2008)

5/28/2008
(p.129)

340

Returned Certified Copy of Order from USMS by Eric Saucedo, Eugene Mona,
Jose Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti,
Arturo Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles

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Case: 09-50323 Document:145  Page:10 Date Filed: 12/14/2009

New, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda
(1c3, ) (Entered: 5/28/2008)

* MOTION to Amend/Correct Order Granting Defendant's Motion for

aD, 346 | Reasonable Visitation with the Family and for General Mail and Telephone
P- Correspondence by Carlos Perea, (Weiser, Gary) (Entered: 6/3/2008)
6/5/2008 RESPONSE TO MOTION by USA as to Carlos Perea Re: 346 /Defendant's

(p.135) 347 | Amend/Correct Order Granting Motion to Amend Visitation Order (Acosta, Jose)
Pt? (Entered: 6/5/2008)

6/10/2008 348 ORDER GRANTING [346] Motion to Amend/Correct as to Carlos Perea (1).
(p.138) Signed by Judge David Briones. (rrv, } (Entered: 6/11/2008)
ORDER as to Carlos Perea re [348] Order on Motion to Amend/Correct. Order is
F/1/2008 353 VACATED. Maria Delgado and Elizabeth Martinez are PROHIBITED from
(p.139) visiting Defendant Carlos Perea while he remains in custody.. Signed by Judge
David Briones. (rrv, ) (Entered: 7/1/2008)
7/1/2008 355 Order received by U.S. Marshals Service as to Carlos Perea (rrv, ) (Entered:

(p.140) 7/1/2008)

ORDER RESETTING as to Eric Saucedo, Eugene Mona, Jose Martin Garcia,
Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo Enriquez,
77/2008 356 Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New, Carlos
(p.141) Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda, { Docket Call
reset for 7/18/2008 08:30 AM before Judge David Briones.). Signed by Judge

David Briones. (rrv, ) (Entered: 7/7/2008)

* MOTION to Adept Defendant, Sandy Vallez New's Motion for Waiver of

ol 3 377 | Maximum Compensation and Interim Payment Pursuant to 18 USC §3006A by
_ Carlos Perea. (Weiser, Gary) (Entered: 8/15/2008)
NOTICE of Intent to Use Evidence by USA as to Eric Saucedo, Eugene Mona,
9/8/2008 Jose Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti,
(pl 4 6) 395 | Arturo Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles
. New, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda
(Acosta, Jose) (Entered: 9/8/2008)
* MOTION for Disclosure /of Discovery by USA as to Eric Saucedo, Eugene
9/8/2008 Mona, Jose Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny
(p.148) 396 | Michelletti, Arturo Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz,
° Sandy Valles New, CarlosPerea, Manuel Cardoza, Benjamin Alvarez, Miguel
Angel Esqueda. (Acosta, Jose) (Entered: 9/8/2008)
ORDER as to Eric Saucedo, Eugene Mona, Jose Martin Garcia, Danny Tarin,
9/9/2008 Said Francisco Herrera, Johnny Michelletti, Arturo Enriquez, Gustavo Gallardo,

(p.152) 401 | Roberto Duran, Adam Munoz, Sandy Valles New, Carlos Perea, Manuel Cardoza,
P- Benjamin Alvarez, Miguel Angel Esqueda - VENIRE QUESTIONNAIRE
DEADLINE SET. Signed by Judge David Briones. (rrv, } (Entered: 9/9/2008)

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Case: 09-50323 Document:145 Page:11 Date Filed: 12/14/2009

ORDER [396] Motion for Disclosure as to Carlos Perea (1), Manuel Cardoza (2),
Benjamin Alvarez (3), Miguel Angel Esqueda (5), Gustavo Gallardo (6), Eugene
9/15/2008 404 Mona (7), Jose Martin Garcia (8), Roberto Duran (9), Danny Tarin (10), Johnny
(p.153) Michelletti (11), Said Francisco Herrera (12), Adam Munoz (13), Eric Saucedo
(14), Arturo Enriquez (15), Sandy Valles New (16). Signed by Judge David
Briones, (rrv, ) (Entered: 9/15/2008)
Proposed Voir Dire by USA as to Eugene Mona, Danny Tarin, Said Francisco
9/17/2008 all Herrera, Arturo Enriquez, Adam Munoz, Sandy Valles New, Carlos Perea,
(p.154) Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda (Acosta, Jose)
(Entered: 9/17/2008)
ORDER as to Eric Saucedo, Eugene Mona, Jose Martin Garcia, Danny Tarin,
9/2/2008 Said Francisco Herrera, Johnny Michelletti, Arturo Enriquez, Gustavo Gallardo,
(p.158) 418 | Roberto Duran, Adam Munoz, Sandy Valles New, Carlos Perea, Manuel Cardoza,
P- Benjamin Alvarez, Miguel Angel Esqueda. Signed by Judge David Briones. (ar, )
(Entered: 9/22/2008)
Response by USA as to Eric Saucedo, Eugene Mona, Jose Martin Garcia, Danny
9/29/2008 Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo Enriquez, Gustavo
(p.166) 422 | Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New, Carlos Perea, Manuel
P. Cardoza, Benjamin Alvarez, Miguel Angel Esqueda re [418] Order, (Acosta, Jose)
(Entered: 9/29/2008)
ORDER sua sponte as to Eric Saucedo, Eugene Mona, Jose Martin Garcia, Danny
10/8/2008 Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo Enriquez, Gustavo
(p.168) 431 | Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New, Carlos Perea, Manuel
P- Cardoza, Benjamin Alvarez, Miguel Angel Esqueda. U.S. Marshals Service in
receipt of order.. Signed by Judge David Briones. (rrv, ) (Entered: 10/8/2008)
10/14/2008 434 NOTICE /for the Introduction of Other Acts by USA as to Carlos Perea, Benjamin
(p.171) Alvarez (Acosta, Jose) (Entered: 10/14/2008)
10/17/2008 440 Writ of Habeas Corpus ad Testificandum Issued as to Carlos Perea for 11/3/08 at
(p.179) 9:00 a.m. before Magistrate Richard P. Mesa (lc3, ) (Entered: 10/17/2008)
10/21/2008 442 * MOTION in Opposition to the Government's Notice for the Introduction of
(p.180) Other Acts by Carlos Perea. (Weiser, Gary) (Entered: 10/21/2008)
ORDER as to Carlos Perea, Benjamin Alvarez re [434] Notice For The
10/23/2008 449 Introduction of Other Acts filed by USA, Counsels for parties APPROACH THE
(p.185) BENCH and SEEK A RULING as to the admissibility of such evidence.. Signed
by Judge David Briones. (rv, ) (Entered: 10/23/2008)
10/27/2008 * MOTION in Limine (Number One by USA as to Eugene Mona, Said Francisco
(p.187) 458 | Herrera, Arturo Enriquez, Adam Munoz, Carlos Perea, Manuel Cardoza,
P. Benjamin Alvarez. (Acosta, Jose) (Entered: 10/27/2008)
10/27/2008 * MOTION in Limine /Number Two by USA as to Eugene Mona, Said Francisco
(p.196) 459 | Herrera, Arturo Enriquez, Adam Munoz, Carlos Perea, Manuel Cardoza,
P- Benjamin Alvarez. (Acosta, Jose) (Entered: 10/27/2008)

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* MOTION in Limine /Number Three by USA as to Eugene Mona, Said

302) 460 | Francisco Herrera, Arturo Enriquez, Adam Munoz, Carlos Perea, Manuel
P- Cardoza, Benjamin Alvarez. (Acosta, Jose) (Entered: 10/27/2008)

ORDER SETTING as to Eugene Mona, Said Francisco Herrera, Arturo Enriquez,
10/27/2008 Adam Munoz, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, ( Status

(p.207) 461 Conference set for 10/31/2008 01:30 PM before Judge David Briones.). Signed by

Judge David Briones. (rrv, ) (Entered: 10/27/2008)

Minute Entry for proceedings held before Judge David Briones:Pretrial
10/31/2008 488 Conference as to Eugene Mona, Carlos Perea, Manuel Cardoza, Benjamin Alvarez
(p.208) held on 10/31/2008 (Minute entry documents are not available electronically.)

(Court Reporter M.S.Briggs.) (rrv, ) (Entered: 11/3/2008)

* MOTION to Unseal Indictment by USA as to Eric Saucedo, Eugene Mona, Jose
Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo
490 | Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New,
Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda,
Eduardo Ravelo. (rrv, ) (Entered: 11/4/2008)

11/3/2008
(p.210)

Voir Dire begun on 11/3/2008 Carlos Perea (1) on Count 1,2,3,4,5 and Manuel
Cardoza (2) on Count 1,2,4,5 and Benjamin Alvarez (3) on Count 1,2,4,5 and
Eugene Mona (7) on Count 2 and Said Francisco Herrera (12) on Count 1,2,3,5,10
and Arturo Enriquez(15} on Count 3,5,11 (rrv, ) (Entered: 11/4/2008)

11/3/2008

Minute Entry for proceedings held before Judge David Briones: Jury Selection
Held, Jurors Sworn, Jury Trial held, Rule Invoked, Opening Statemenst for
11/3/2008 492 Govt/Deft as to Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos
(p.212) Perea, Manuel Cardoza, Benjamin Alvarez held on 11/3/2008 (Minute entry
documents are not available electronically.) (Court Reporter M.S.Briggs.) (rrv, }

(Entered: 11/4/2008)

ORDER GRANTING [490] Motion to Unseal Indictment as to Carlos Perea (1),
Manuel Cardoza (2), Benjamin Alvarez (3), Miguel Angel Esqueda (5), Gustavo
11/4/2008 49] Gallardo (6), Eugene Mona (7), Jose Martin Garcia (8), Roberto Duran (9), Danny
(p.216) Tarin (10), Johnny Michelletti (11), Said Francisco Herrera (12), Adam Munoz
(13), Eric Saucedo (14), Arturo Enriquez (15), Sandy Valles New (16). Signed by

Judge David Briones. (rrv, ) (Entered: 11/4/2008)

INDICTMENT UNSEALED as to Eric Saucedo, Eugene Mona, Jose Martin
Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo
11/4/2008 Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New,
Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda,
Eduardo Ravelo (rrv, ) (Entered: 11/4/2008)

Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
494 | Cardoza, Benjamin Alvarez held on 11/4/2008. Evidence presented by
Government / Defendant. (Minute entry documents are not available
electronically.) (Court Reporter M.S. Briggs.) (trv, ) (Entered: 11/5/2008)

11/4/2008
(p.218)

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11/5/2008

Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel

(p.222) 499 | Cardoza, Benjamin Alvarez held on 11/5/2008 (Minute entry documents are not
, available electronically.) (Court Reporter M.S.Briggs.) (rrv, ) (Entered:
11/10/2008)
Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
11/6/2008 Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
(p.226) 500 | Cardoza, Benjamin Alvarez held on 11/6/2008 (Minute entry documents are not
, available electronically.) (Court Reporter M.S.Briggs.) (crv, ) (Entered:
11/10/2008)
11/10/2008 Proposed Jury Instructions by Carlos Perea as to Eugene Mona, Said Francisco
(p.230) 498 | Herrera, Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez
° (Weiser, Gary) (Entered: 11/10/2008)
11/10/2008 * MOTION in Limine Number Four by USA as to Eugene Mona, Said Francisco
(p.252) 502 | Herrera, Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez. (rrv,
, ) Entered: 11/12/2008)
Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
11/10/2008 Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
(p.267) 503 | Cardoza, Benjamin Alvarez held on 11/10/2008 (Minute entry documents are not
‘ available electronically.) (Court Reporter M.S.Briggs.) (Attachments: # (1) Jury
Trial Proceedings cont.) (rrv, ) (Entered: 11/12/2008)
ORAL ORDER GRANTING [502] Motion in Limine as to Carlos Perea (1)
11/10/2008 Manuel Cardoza (2) Benjamin Alvarez (3) Eugene Mona (7) Said Frnacisco
Herrera (12) Arturo Enriquez (15). Signed by Judge David Briones. (rrv, )
(Entered: 11/12/2008)
Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
11/12/2008 Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
(p.271) 504 | Cardoza, Benjamin Alvarez held on 11/12/2008 (Minute entry documents are not
, available electronically.) (Court Reporter M.S.Briggs.) (Attachments: # (1)
Proceeding sheet cont.) (rrv, ) (Entered: 11/13/2008)
Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
11/13/2008 Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
(p.275) 506 | Cardoza, Benjamin Alvarez held on 11/13/2008 (Minute entry documents are not
— available electronically.) (Court Reporter M.S.Briggs.) (Attachments: # (1)
Proceeding sheet cont.) (rrv, } (Entered: 11/14/2008)
Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
11/17/2008 Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
(p.279) 514 | Cardoza, Benjamin Alvarez held on 11/17/2008 (Minute entry documents are not
‘ available electronically.) (Court Reporter M.S. Briggs.) (Attachments: # (1)
proceeding sheet continued) (trv, ) (Entered: 11/18/2008)
11/18/2008 516 | Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
{p.283) Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel

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Cardoza, Benjamin Alvarez held on 11/18/2008 (Minute entry documents are not
available electronically.) (Court Reporter Shannon Rose.) (Attachments: # (1)
proceeding continued) (rrv, ) (Entered: 11/18/2008)
Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
11/20/2008 Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
(9.287) 518 | Cardoza, Benjamin Alvarez held on | 1/20/2008 (Minute entry documents are not
P- available electronically.) (Court Reporter M.S.Briggs.) (Attachments: # (1)
proceeding sheet cont.) (rrv, ) (Entered: 11/21/2008)
ORAL MOTION for Acquittal by Eugene Mona, Said Francisco Herrera, Arturo
11/20/2008 Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez. (rrv, ) (Entered:
11/21/2008)
ORAL ORDER DENYING [] Motion for Acquittal as to Carlos Perea (1), Manuel
11/21/2008 Cardoza (2), Benjamin Alvarez (3), Eugene Mona (7), Said Francisco Herrera
(12), Arturo Enriquez (15). Count 5 granted as to Defendant Enriquez, all other
counts denied.. Signed by Judge David Briones. (rrv, ) (Entered: 11/21/2008)
11/24/2008 * GOVERNMENT'S MOTION In Response To Defendant's Motion For Acquittal
(p.291) 519 | Pursuant F.R.Cr.P.29 by USA as to Said Francisco Herrera, Carlos Perea, Manuel
P. Cardoza, Benjamin Alvarez. (trv, ) (Entered: 11/25/2008)
Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
11/24/2008 Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
(0.297) 522 | Cardoza, Benjamin Alvarez held on 11/24/2008 (Minute entry documents are not
P. available electronically.} (Court Reporter M.S.Briggs.) (Attachments: # (1)
proceeding sheet cont.) (rv, ) (Entered: 11/25/2008)
11/24/2008 EXHIBIT LIST by USA as to Eugene Mona, Said Francisco Herrera, Arturo
(p.301) 530 | Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez (rrv, ) (Entered:
P- 12/3/2008)
11/24/2008 531 EXHIBIT LIST by Carlos Perea (rrv, ) (Entered: 12/3/2008)
(p.323)
WITNESS LIST by USA, Eugene Mona, Said Francisco Herrera, Arturo
11/24/2008 55] Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez as to Eugene Mona,
(p.324) Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel Cardoza,
Benjamin Alvarez (rrv, } (Entered: 12/4/2008)
Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
11/25/2008 Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
(7.326) 523 | Cardoza, Benjamin Alvarez held on 11/25/2008 (Minute entry documents are not
P. available electronically.) (Court Reporter M.S.Briggs.) (Attachments: # (1)
proceeding sheet cont.) (rrv, ) (Entered: 11/26/2008)
11/25/2008 Court's Charge/Instructions to Jury as to Eugene Mona, Said Francisco Herrera,
(p.330) 534 | Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez (Attachments:
P. # (1) Court Instructions cont.)(rrv, ) (Entered: 12/3/2008)

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Jury Note 1 as to Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
11/25/2008 535 | Cardoza, Benjamin Alvarez, Miguel Angel Esqueda SEALED pursuant to
E-Government Act of 2002 (rrv, ) (Entered: 12/3/2008)

Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
528 | Cardoza, Benjamin Alvarez held on 12/1/2008 (Minute entry documents are not
available electronically.) (Court Reporter M.S.Briggs.) (Attachments: # (1)
proceeding sheet cont.) (rrv, ) (Entered: 12/2/2008)

12/1/2008
(p.429)

Jury Note 2 as to Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
12/1/2008 536 | Cardoza, Benjamin Alvarez, Miguel Angel Esqueda SEALED pursuant to
E-Government Act of 2002 (rrv, } (Entered: 12/3/2008)

Court's Response to [536] Jury Note 2 (Sealed) as to Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel
Angel Esqueda SEALED pursuant to E-Government Act of 2002 (rrv, } (Entered:
12/3/2008)

12/1/2008 537

Jury Note 3 as to Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos
12/1/2008 538 | Perea, Benjamin Alvarez, Miguel Angel Esqueda SEALED pursuant to
E-Government Act of 2002 (rrv, ) (Entered: 12/3/2008)

Court's Response to [538] Jury Note 3(Sealed) as to Eugene Mona, Said Francisco
12/1/2008 539 | Herrera, Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez
SEALED pursuant to E-Government Act of 2002 (rrv, ) (Entered: 12/3/2008)

Jury Note 4 as to Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos
12/1/2008 540 | Perea, Manuel Cardoza, Benjamin Alvarez SEALED pursuant to E-Government
Act of 2002 (rv, ) (Entered: 12/3/2008)

Minute Entry for proceedings held before Judge David Briones:Jury Trial as to
Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel
529 | Cardoza, Benjamin Alvarez held on 12/2/2008. Trial concluded. (Minute entry
documents are not available electronically.) (Court Reporter M.S.Briggs.)
(Attachments: # (1) proceeding sheet cont.) (rrv, ) (Entered: 12/3/2008)

12/2/2008
(p.433)

Jury Note 5 as to Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos
12/2/2008 541 | Perea, Manuel Cardoza, Benjamin Alvarez SEALED pursuant to E-Government
Act of 2002 (trv, } (Entered: 12/3/2008)

Court's Response to [541] Jury Note (Sealed) as to Eugene Mona, Said Francisco
12/2/2008 542 | Herrera, Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez
SEALED pursuant to E-Government Act of 2002 (rv, ) (Entered: 12/3/2008)

Jury Note 6 as to Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos
12/2/2008 543 | Perea, Manuel Cardoza, Benjamin Alvarez SEALED pursuant to E-Government
Act of 2002 (rrv, ) (Entered: 12/3/2008)

12/2/2008 544 | Jury Note 7 as to Eugene Mona, Said Francisco Herrera, Arturo Enriquez, Carlos
Perea, Manuel Cardoza, Benjamin Alvarez SEALED pursuant to E-Government

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Act of 2002 (rrv, ) (Entered: 12/3/2008)
WITHDRAWAL EXHIBIT RECEIPT all Govt Exhibits as to Eugene Mona, Said
12/2/2008 : : ,
(p.437) 545 | Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin
Alvarez (rv, ) (Entered: 12/3/2008)
12/2/2008 546 WITHDRAWAL EXHIBIT RECEIPT by Carlos Perea (rrv, ) (Entered:
(p-438) 12/3/2008)
JURY VERDICT (Redacted Version) as to Carlos Perea (1) Guilty on Count
1,2,4,5 and Manuel Cardoza (2) Guilty on Count 1,2,4,5 and Benjamin Alvarez
12/2/2008 (3) Guilty on Count 1,2,4,5 and Eugene Mona (7) Guilty on Count 2 and Said
(p.439) 549 | Francisco Herrera (12) Guilty on Count 1,2,3,5 and Arturo Enriquez (15) Guilty
7 on Count 3Arturo Enriquez (15) Not Guilty on Count 11. filed. Unredacted
Version Sealed pursuant to E-Government Act of 2002. (rrv, ) (Entered:
12/3/2008)
ORDER SETTING as to Eugene Mona, Said Francisco Herrera, Arturo Enriquez,
12/2/2008 550 Carlos Perea, Manuel Cardoza, Benjamin Alvarez, ( Sentencing set for 2/24/2009
(p.456) 08:30 AM before Judge David Briones.). Signed by Judge David Briones. {rrv, )
(Entered: 12/3/2008)
12/12/2008 *Second MOTION of Defendant, Carlos Perea, to Amend Order Granting
(p.457) 555 | Defendant's Motion for Reasonable Visitations with the Family by Carlos Perea.
: (Weiser, Gary) (Entered: 12/12/2008)
RESPONSE in Opposition by USA as to Carlos Perea re [555] *Second MOTION
12/15/2008 556 of Defendant, Carlos Perea, to Amend Order Granting Defendant's Motion for
(p.460) Reasonable Visitations with the Family filed by Defendant Carlos Perea (Acosta,
Jose) (Entered: 12/15/2008)
ORDER RESETTING as to Eugene Mona, Said Francisco Herrera, Arturo
12/16/2008 564 Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, ( Sentencing reset
(p.463) for 4/1/2009 08:30 AM before Judge David Briones.). Signed by Judge David
Briones. (rrv, ) (Entered: 12/16/2008)
12/18/2008 ORDER DENYING [555] Second Motion To Amend Order Granting Defendant's
(p.464) 565 | Motion For Reasonable Visitation With The Family as to Carlos Perea (1). Signed
, by Judge David Briones. (rrv, ) (Entered: 12/18/2008)
ORDER GRANTING [375] Motion Expedited Motion For Waiver Of Maximum
Compensation And Interim Payment Pursuant to 18 USC 3006A as to Carlos
Perea (1) Manuel Cardoza (2) Benjamin Alvarez (3) Eduardo Ravelo (4) Miguel
12/23/2008 568 Ange! Esqueda (5} Eugene Mona (7), Jose Martin Garcia (8) Roberto Duran(?)
(p.465) Danny Tarin (1) Johnny Michelletti (11) Said Francisco Herrera (12) Adam
Munoz (13) Eric Saucedo (14) Arturo Enriquez (15) Sandy Valles New (16).
Signed by Judge David Briones. (rrv, ) Modified on 12/23/2008 (rrv, ). (Entered:
12/23/2008)
1/14/2009 572 | TRANSCRIPT filed of Proceedings as to Eric Saucedo, Eugene Mona, Jose
(p.470) Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo

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Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New,
Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda,
Eduardo Ravelo held on 11-12-08 Proceedings Transcribed: Jury trial Excerpt.
Court Reporter/Transcriber Maria S. Briggs, Telephone number 915-577-9901.
Parties are notified of their duty to review the transcript to ensure compliance with
the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be purchased from the court reporter
or viewed at the clerk's office public terminal. If redaction is necessary, a Notice
of Redaction Request must be filed within 21 days. If no such Notice is filed, the
transcript will be made available via PACER without redaction after 90 calendar
days. The clerk will mail a copy of this notice to parties not electronically noticed.
Redaction Request due 2/4/2009. Redacted Transcript Deadline set for 2/17/2009.
Release of Transcript Restriction set for 4/14/2009. (Briggs, Maria) (Entered:
1/14/2009)

TRANSCRIPT filed of Proceedings as to Eric Saucedo, Eugene Mona, Jose
Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo
Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New,
Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda,
Eduardo Ravelo held on 11-13-08 Proceedings Transcribed: Jury trial excerpt
11-13-08. Court Reporter/Transcriber Maria S. Briggs, Telephone number
915-577-9901. Parties are notified of their duty to review the transcript to ensure
573 | compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be purchased from
the court reporter or viewed at the clerk's office public terminal. If redaction is
necessary, a Notice of Redaction Request must be filed within 21 days. If no such
Notice is filed, the transcript will be made available via PACER without redaction
after 90 calendar days. The clerk will mail a copy of this notice to parties not
electronically noticed. Redaction Request due 2/4/2009. Redacted Transcript
Deadline set for 2/17/2009. Release of Transcript Restriction set for 4/14/2009.
(Briggs, Maria) (Entered: 1/14/2009)

1/14/2009
(p.514)

TRANSCRIPT filed of Proceedings as to Eric Saucedo, Eugene Mona, Jose
Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo
Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New,
Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda,
Eduardo Ravelo held on 11-20-08 Proceedings Transcribed: Jury trial excerpt
11-20-08. Court Reporter/Transcriber Maria S. Briggs, Telephone number
915-577-9901. Parties are notified of their duty to review the transcript to ensure
574 | compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be purchased from
the court reporter or viewed at the clerk's office public terminal. If redaction is
necessary, a Notice of Redaction Request must be filed within 21 days. If no such
Notice is filed, the transcript will be made available via PACER without redaction
after 90 calendar days. The clerk will mail a copy of this notice to parties not
electronically noticed, Redaction Request due 2/4/2009. Redacted Transcript
Deadline set for 2/17/2009, Release of Transcript Restriction set for 4/14/2009.
(Briggs, Maria) (Entered: 1/14/2009)

1/14/2009
(p.570)

1/14/2009 575 | TRANSCRIPT filed of Proceedings as to Eric Saucedo, Eugene Mona, Jose
(p.586) Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo
Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New,
Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda,
Eduardo Ravelo held on 11-24-08 Proceedings Transcribed: Jury trial excerpt
11-24-08. Court Reporter/Transcriber Maria S. Briggs, Telephone number

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915-577-9901. Parties are notified of their duty to review the transcript to ensure
compliance with the FRCP 5.2(a)/FRCrP 49.1] (a). A copy may be purchased from
the court reporter or viewed at the clerk's office public terminal. If redaction is
necessary, a Notice of Redaction Request must be filed within 21 days. If no such
Notice is filed, the transcript will be made available via PACER without redaction
after 90 calendar days. The clerk will mail a copy of this notice to parties not
electronically noticed, Redaction Request due 2/4/2009, Redacted Transcript
Deadline set for 2/17/2009. Release of Transcript Restriction set for 4/14/2009.
(Briggs, Maria) (Entered: 1/14/2009)

TRANSCRIPT REQUEST by USA as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel

578 | Angel Esqueda for proceedings held on 11/3/08 & 12/2/08 before Judge Briones.
Proceedings Transcribed: Testimony. Court Reporter: M.S.Briggs. (trv, }
(Entered: 1/16/2009)

1/16/2009
(p.687)

TRANSCRIPT filed of Proceedings as to Eric Saucedo, Eugene Mona, Jose
Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo
Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New,
Carlos Perea, Manuel! Cardoza, Benjamin Alvarez, Miguel Angel Esqueda,
Eduardo Ravelo held on 11-4-08 Proceedings Transcribed: Trial Excerpt Jose
Martin Garcia. Court Reporter/Transcriber Maria S. Briggs, Telephone number
915-577-9901. Parties are notified of their duty to review the transcript to ensure
581 | compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be purchased from
the court reporter or viewed at the clerk's office public terminal. If redaction is
necessary, a Notice of Redaction Request must be filed within 21 days. If no such
Notice is filed, the transcript will be made available via PACER without redaction
after 90 calendar days. The clerk will mail a copy of this notice to parties not
electronically noticed. Redaction Request due 2/24/2009. Redacted Transcript
Deadline set for 3/6/2009. Release of Transcript Restriction set for 5/4/2009.
(Briggs, Maria) (Entered: 2/3/2009)

2/3/2009
(p.688)

TRANSCRIPT filed of Proceedings as to Eric Saucedo, Eugene Mona, Jose
Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo
Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New,
Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda,
Eduardo Ravelo held on 11-5-08 & 11-6-08 Proceedings Transcribed: Trial
Excerpt Gustavo Gallardo. Court Reporter/Transcriber Maria S. Briggs,
Telephone number 915-577-9901. Parties are notified of their duty to review the
582 | transcript to ensure compliance with the FRCP 5.2(a)/FRCrP 49.1{a). A copy may
be purchased from the court reporter or viewed at the clerk's office public
terminal. If redaction is necessary, a Notice of Redaction Request must be filed
within 2] days. If no such Notice is filed, the transcript will be made available via
PACER without redaction after 90 calendar days. The clerk will mail a copy of
this notice to parties not electronically noticed. Redaction Request due 2/24/2009.
Redacted Transcript Deadline set for 3/6/2009. Release of Transcript Restriction
set for 5/4/2009. (Briggs, Maria) (Entered: 2/3/2009)

2/3/2009
(p.806)

2/3/2009 583 | TRANSCRIPT filed of Proceedings as to Eric Saucedo, Eugene Mona, Jose
(p.1055) Martin Garcia, Danny Tarin, Said Francisco Herrera, Johnny Michelletti, Arturo
Enriquez, Gustavo Gallardo, Roberto Duran, Adam Munoz, Sandy Valles New,
Carlos Perea, Manuel Cardoza, Benjamin Alvarez, Miguel Angel Esqueda,

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Eduardo Ravelo held on 11-17-08 Proceedings Transcribed: Trial Excerpt Josue
Aguirre. Court Reporter/Transcriber Maria S. Briggs, Telephone number
915-577-9901. Parties are notified of their duty to review the transcript to ensure
compliance with the FRCP 5.2(a)/FRCrP 49.1 (a). A copy may be purchased from
the court reporter or viewed at the clerk's office public terminal. If redaction is
necessary, a Notice of Redaction Request must be filed within 21 days. If no such
Notice is filed, the transcript will be made available via PACER without redaction
after 90 calendar days. The clerk will mail a copy of this notice to parties not
electronically noticed. Redaction Request due 2/24/2009. Redacted Transcript
Deadline set for 3/6/2009. Release of Transcript Restriction set for 5/4/2009.
(Briggs, Maria) (Entered: 2/3/2009)

Transcript Redaction Request in case as to Eugene Mona, Said Francisco Herrera,

oo 1438) 584 | Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez re [582]
Pe Transcript. filed by attorney Jose Luis Acosta (Acosta, Jose) (Entered: 2/9/2009)
2/18/2009 Redacted Transcript filed re: [582] Transcript in case as to Eugene Mona, Said
(p.1337) 587 | Francisco Herrera, Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin
P. Alvarez (Briggs, Maria} (Entered: 2/18/2009)
3/25/2009 611 MOTION FOR EVIDENTIARY HEARING by Carlos Perea. (Weiser, Gary)
(p. 1586) (Entered: 3/25/2009)

ORDER RESETTING as to Eugene Mona, Said Francisco Herrera, Arturo
3/2/2009 Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, ( Sentencing reset
(p.1590) 630 | for 4/10/2009 09:30 AM before Judge David Briones.) It is further ordered that

any objections Pre-SentenceInvestigation Reports be filed on or before April 3,
2009.. Signed by Judge David Briones. (ar, ) (Entered: 3/27/2009)

MOTION for Leave to File Sealed Document (Attachments: # (1) Sealed

3/31/2009 637 Document) (Acosta, Jose) (Entered: 3/31/2009)

4/1/2009 640 | Sealed Order. Signed by Judge David Briones. (Ic3, ) (Entered: 4/1/2009)
4/1/2009 641 | Sealed Order. Signed by Judge David Briones. (Ic3, ) (Entered: 4/1/2009)
AN/2009 642 Sealed Document filed (Ic3, } (Entered: 4/1/2009)

ORDER RESETTING as to Eugene Mona, Said Francisco Herrera, Arturo
4/6/2009 Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez, ( Sentencing reset

(p. 1592) 648 for 4/13/2009 10:30 AM before Judge David Briones.). Signed by Judge David

Briones. (tv, ) (Entered: 4/6/2009)

4/13/2009 659 MOTION to Adopt Co-Defendant Benjamin Alvarez' Motion for New Trial by
(p.1593) Carlos Perea. (Weiser, Gary} (Entered: 4/13/2009)
4/13/2009 660 MOTION to Withdraw as Attorney on Appeal by Carlos Perea. (Weiser, Gary)
(p.1596)} (Entered: 4/13/2009)

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4/13/2009 MCTION to Dismiss Indictment/Information on the Basis of Brady Violations or
(p.1599) in the Alternative for a New Trial by Carlos Perea. (Weiser, Gary) (Entered:
4/13/2009)
Minute Entry for proceedings held before Judge David Briones:Sentencing held
on 4/13/2009 for Carlos Perea (1), Count(s) 1, Life imprisonment, 5 years
supervised release, $100 S/A, concurrent to Count(s) 2, 4 & 5, consecutive to
EP-01-CR-1437-DB, and $2,500.00; Count(s) 2, Life imprisonment, 5 years
4/13/2009 supervised release, $100 S/A, concurrent to Count(s) 1, 4 & 5, consecutive to
(p.1605) 670 | EP-01-CR-1437-DB; Count(s) 4, Life imprisonment, 5 years supervised release,
° $100 S/A, concurrent toCount(s) 1, 2 & 5, consecutive to EP-O01-CR-1437-DB;
Count(s) 5, Life imprisonment, 5 years supervised release, $100 S/A, concurrent
to Count(s) 1, 2 & 4, consecutive to EP-01-CR-1437-DB. (Minute entry
documents are not available electronically.) (Court Reporter M.S.Briggs.) (rv, )
(Entered: 4/14/2009)
4/15/2009 678 JUDGMENT AND COMMITMENT as to Carlos Perea. Signed by Judge David
(p. 1607) Briones, (trv, ) (Entered: 4/15/2009)
4/16/2009 ORDER DENYING [659] Motion to Adopt co-Defendant Benjamin Alvarez's
(p.1613) 685 | Motion For New Trial as to Carlos Perea (1). Signed by Judge David Briones.
, (rrv, ) (Entered: 4/16/2009)
4/16/2009 RESPONSE TO MOTION by USA as to Eugene Mona, Said Francisco Herrera,
(p.1614) 686 | Carlos Perea, Manuel Cardoza, Benjamin Alvarez re [654] MOTION for New
‘ Trial filed by Defendant Benjamin Alvarez (Acosta, Jose) (Entered: 4/16/2009)
NOTICE OF APPEAL by Carlos Perea Per 5th Circuit rules, the appellant has 10
days, from the filing of the Notice of Appeal, to order the transcript. To order a
4/23/2009 transcript, the appellant should fill out Form DKT-13 (Transcript Order) and
(p.1627) 695 | follow the instructions set out on the form. If the appellant has a court appointed
° attorney under CJA, the Form CJA 24 should also be completed. Both forms are
available in the Clerk's Office or by clicking the hyperlinks above. (ar, } (Entered:
4/23/2009)
TRANSCRIPT REQUEST by Carlos Perea for dates of 11/03/08, 11/13/08 TO
4/30/2009 705 12/02/08, 4/13/09 before Judge David Briones,. Proceedings Transcribed: Voir
(p. 1628) Dire, Jury Trial, Sentencing. Court Reporter: M.S.Briggs. re [695] Notice of
Appeal - Final Judgment,, (ar, ) (Entered: 5/1/2009)
5/4/2009 USCA Info Sheet Received, USCA Case Number 09-50337 as to Carlos Perea in
(p.1630) 710 | 5th Circuit USCA for [695] Notice of Appeal - Final Judgment,, filed by Carlos
, Perea. (trv, ) (Entered: 5/5/2009)
5/1/2009 TRANSCRIPT REQUEST by Carlos Perea for dates of 11/8/08 before Judge
(p.1631) 711 | Briones,. Proceedings Transcribed: Jury Trial. Court Reporter: M.S.Briggs. re
‘ [695] Notice of Appeal - Final Judgment,, (rrv, ) (Entered: 5/8/2009)
5/26/2009 751 | Letter from USCA received as to Eugene Mona, Said Francisco Herrera, Arturo
(p.1633) Enriquez, Carlos Perea, Manuel Cardoza in for [695] Notice of Appeal - Final
Judgment,, filed by Carlos Perea, [692] Notice of Appeal - Final Judgment,, filed

USCAS 17
Case: 09-50323 Document:145 Page:21 Date Filed: 12/14/2009

by Manuel Cardoza, [689] Notice of Appeal - Final Judgment,, filed by Arturo
Enriquez, [696] Notice of Appeal - Final Judgment,, filed by Eugene Mona. (ry, )
(Entered: 5/28/2009)

MEMORANDUM OPINION AND ORDER DENYING [680] Motion for New
Trial as to Eugene Mona (7); DENYING [656] Motion to Dismiss
Indictment/Information as to Said Francisco Herrera (12); DENYING [661]

0, 1636) 753 | Motion to Dismiss Indictment/Information as to Carlos Perea (1); DENYING
P- [674] Motion for New Trial as to Manuel Cardoza (2); DENYING [654] Motion
for New Trial as to Benjamin Alvarez (3). Signed by Judge David Briones. (ar, }
(Entered: 6/8/2009)
6/8/2009 756 ORDER GRANTING [660] Motion to Withdraw as Attomey as to Carlos Perea
(p.1656) (1). Signed by Judge David Briones. (ar, ) (Entered: 6/8/2009)
6/9/2009 759 ORDER Appointing Counsel as to Carlos Perea. Signed by Judge Michael S.
{p. 1658) McDonald. (ar, ) (Entered: 6/10/2009)
6/9/2009 760 CIA 20 as to Carlos Perea: Appointment of Attorney John David Gates for Carlos
(p.1659) Perea.. Signed by Judge Michael §. McDonald. (ar, ) (Entered: 6/10/2009)
6/10/2009 CORRECTED MEMORANDUM OPINION AND ORDER as to Eugene Mona,
(9.1660) 762 | Said Francisco Herrera, Carlos Perea, Manuel Cardoza, Benjamin Alvarez. Signed
P. by Judge David Briones. (ar, ) (Entered: 6/10/2009)
TRANSCRIPT REQUEST by Carlos Perea for dates of 11/2/08-12/2/08 &
6/19/2009 767 4/13/09 before Judge Briones,. Proceedings Transcribed: Jury Trial & Sentencing.
(p. 1680) Court Reporter: M.S.Briggs. re [695] Notice of Appeal - Final Judgment,, (fm, )
(Entered: 6/22/2009)
TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Adam Ray Munoz, Carlos Perea, Manuel Cardoza held on 10-31-08 Proceedings
Transcribed: Status conferance. Court Reporter/Transcriber Maria 8. Briggs,
Telephone number 915-577-9901. Parties are notified of their duty to review the
transcript to ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may
6/23/2009 be purchased from the court reporter or viewed at the clerk's office public
(p.1682) 769 | terminal. If redaction is necessary, a Notice of Redaction Request must be filed

within 21 days. If no such Notice is filed, the transcript will be made available via
PACER without redaction after 90 calendar days. The clerk will mail a copy of
this notice to parties not electronically noticed.( Appeal Record due by 7/8/2009.)
Redaction Request due 7/14/2009. Redacted Transcript Deadline set for
7/24/2009. Release of Transcript Restriction set for 9/21/2009. (Briggs, Maria)
(Entered: 6/23/2009)

6/23/2009 770 | TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
(p.1755) Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11-3-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-9901 .Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
purchased from the court reporter or viewed at the clerk's office public terminal. If
redaction is necessary, a Notice of Redaction Request must be filed within 21

USCAS 18
Case: 09-50323 Document:145 Page:22 Date Filed: 12/14/2009

days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11-4-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-9901 .Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 1 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.1995) redaction is necessary, a Notice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11-5-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria 8. Briggs, Telephone
number 915-577-9901 Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 2 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.2327) redaction is necessary, a Notice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009, (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11-6-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-9901 .Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 773 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.2637) redaction is necessary, a Notice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed, Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

6/23/2009 774 | TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
(p.2962) Arturo Enriquez, Carlos Perea, Manuel] Cardoza held on 11-10-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-9901. Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
purchased from the court reporter or viewed at the clerk's office public terminal. If
redaction is necessary, aNotice of Redaction Request must be filed within 21

USCAS 19
Case: 09-50323 Document:145 Page:23 Date Filed: 12/14/2009

days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009, Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on | 1-12-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-9901. Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 775 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.3217) redaction is necessary, aNotice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11-13-08 Proceedings

| Transcribed: Jury Trial. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-9901. Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 76 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.3538) redaction is necessary, aNotice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11-17-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-9901. Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 77 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.3809) redaction is necessary, aNotice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

6/23/2009 778 | TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
(p.4113) Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11-20-08 Proceedings
Transcribed: Jury Trial, Court Reporter/Transcriber Maria 5. Briggs, Telephone
number 915-577-9901. Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a/FRCrP 49.1(a). A copy may be
purchased from the court reporter or viewed at the clerk's office public terminal. If
redaction is necessary, aNotice of Redaction Request must be filed within 21

USCAS 20
Case: 09-50323 Document:145 Page:24 Date Filed: 12/14/2009

days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009, Release of Transcript Restriction set for
9/21/2009, Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11-24-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria 5. Briggs, Telephone
number 915-577-9901. Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5,2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 730 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.4427) redaction is necessary, aNotice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed, Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009, (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11-25-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria 8. Briggs, Telephone
number 915-577-9901. Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 781 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.4666) redaction is necessary, aNotice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 12-1-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-990] .Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 782 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.4805) redaction is necessary, a Notice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

6/23/2009 783 | TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
(p.4811) Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 12-2-08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-9901 Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
purchased from the court reporter or viewed at the clerk's office public terminal. If
redaction is necessary, a Notice of Redaction Request must be filed within 21

USCAS 21
Case: 09-50323 Document:145 Page:25 Date Filed: 12/14/2009

days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for
9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 4-13-09 Proceedings
Transcribed: Sentencing. Court Reporter/Transcriber Maria S. Briggs, Telephone
number 915-577-9901 Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/23/2009 784 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.4833) redaction is necessary, a Notice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/14/2009. Redacted
Transcript Deadline set for 7/24/2009. Release of Transcript Restriction set for

9/21/2009. Appeal Record due by 7/8/2009. (Briggs, Maria) (Entered: 6/23/2009)

TRANSCRIPT REQUEST by Carlos Perea for dates of 11/18/08 before Judge
785 | Briones,. Proceedings Transcribed: Jury Trial. Court Reporter: Shannon Rose. re
[695] Notice of Appeal - Final Judgment,, (rrv, } (Entered: 6/25/2009)

6/24/2009
(p.4891)

TRANSCRIPT filed of Proceedings as to Eugene Mona, Said Francisco Herrera,
Arturo Enriquez, Carlos Perea, Manuel Cardoza held on 11/18/08 Proceedings
Transcribed: Jury Trial. Court Reporter/Transcriber Shannon Rose, Telephone
number (915) 544-1515.Parties are notified of their duty to review the transcript to
ensure compliance with the FRCP 5.2(a)/FRCrP 49.1(a). A copy may be
6/25/2009 790 purchased from the court reporter or viewed at the clerk's office public terminal. If
(p.4893) redaction is necessary, a Notice of Redaction Request must be filed within 21
days. If no such Notice is filed, the transcript will be made available via PACER
without redaction after 90 calendar days. The clerk will mail a copy of this notice
to parties not electronically noticed. Redaction Request due 7/16/2009. Redacted
Transcript Deadline set for 7/27/2009. Release of Transcript Restriction set for

9/23/2009. (rrv, } (Entered: 7/13/2009)

Transcript Redaction Request in case as to Eugene Mona, Said Francisco Herrera,
7/28/2009 791 Arturo Enriquez, Carlos Perea, Manuel Cardoza, Benjamin Alvarez re [778],
(p.5007) [777], [776], [780], [773], [775] Transcript. filed by attorney Jose Luis Acosta

(Acosta, Jose) (Entered: 7/28/2009)

Certified and Transmitted Record on Appeal as to Carlos Perea to US Court of
792 | Appeals re [695] Notice of Appeal - Final Judgment, Held for Attorney, (em, )
(Entered: 8/3/2009)

8/3/2009
(p.5010)

USCAS5 22
Case: 09-50323 Document:145 Page:26 Date Filed: 12/14/2009

TAB 2
Notice of Appeal
dee. UO pUcce Documem. 140 Page.c/  DateFiled. 12/14/2009

IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TEXAS FILER
EL PASO DIVISION

2009 APR 23 PM 2: 13

CARLOS PEREA ) CLERK, US GIGTRIET 6
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V. ) NO. EP-08-CR-S9DB(@) a.
} DEPUTY

UNITED STATES OF AMERICA )

NOTICE OF APPEAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:
Comes now CARLOS PEREA, in the above-captioned cause, and files this, his
Notice of Appeal to the United States Court of Appeals for the Fifth Circuit from the final

judgment entered in the above-captioned cause, and pronounced by the Court on the 14"

day of April, 2009.

Respectfully submitted,

Gary B. Weiser

521 Texas Ave.

El Paso, Texas 79901
Tel: (915) 544-0880

Fax: (945) 544-8091
BY: [i 6b : LAuiy

Gary B. Wiser
Texas Bar No. 21107500
Attorney for CARLOS PEREA

CERTIFICATE OF SERVICE

I hereby certify that the foregoing was sent to the United States Attorney’s Office,
700 E. San Antonio, El Paso, Texas 79901, by United States Mail, this 23"Aay of

_— Ura» 0. tbe

Gary B. Weiser /

USCA5 1627

Case: 09-50323 Document:145 Page:28 Date Filed: 12/14/2009

TAB 3

Indictment
a Case: 09-50323 ‘Document: 145° _ Page: 2g "Date Filed: 12/14/2009 -

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UNITED STATES DISTRICT COURT ee eali tah peed -
_ WESTERN DISTRICT OF TEXAS oe Lar ¢ Ph ie: 4g J

EL PASO DIVISION o oe a S
UNITED § STATES OF AMERICA, moe
. -Plaiotff,

we en os

CARLOS PEREA, ~ ai 18 Use. § 196260 ‘Engeging in the. oo
aka. Shotgun, " ye affairs, of an. enterprise through * pattern of cae
ee yp rac. ceteeriing activity. .
CT 2: 18. US.C..§: 1962(4);_ Conspiracy to Se
| conduct the affairs of an. enterprise through 4: - oe
4 ~ pattern of racketeering activity: ee
4} - CEB. 18- USC. § 19515: Cotispiracy.. to Py rs
. ‘interfere “with | “commence: by, threats or

“era SUSC. § 19S6(AKIKAKIB)G) & Ct oe Sea,
_\. Conspiracy to launder monetary instruments.
ETS: 2 U.S.C. -§§ 846 & -841(0)(1);

LP. “Conspiracy . to. possess | heroin, cocaine: & oe eo

Marijuana with intent to. distribute. .

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a } CT 62°21 U.S.C. §841(a) & ()AKA)G: |
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. Possession - with- intent to distribute, a
) ‘controlled. substance; Be
| CT.7:-21- USC. § 843(a) & WCAYGI- -
_)+ Possession with ‘intent. ‘to. distribute a
~_ controlled substance; ~~ a
CT-8: 21.US.C. § 84i{a). & GaB)E- .
| Possession with intent to distribute. al
> controlled substance; .
CT 9: 21. USC. § 841(a). &. W)AC-
| “Possession With intent ‘fo | distribute a
- controlled substance; mo me
CT105-18 U.S.C. 38.2 & 1959(0)3); Violent oo :
. grimes itt-aid of racketeering activity.’ SS
 CEUT8U.S.C.§ 1959(a)(2); Murde derinaidot. a
__Facksteering activity. o Be

a ‘Defendants.

“USCAS 280° 2

OH substances, and distribution of controlled substances and possession with the intent io distribute gen Pee

-sGase: 09-50323...-Document::145 Page: 30. . Date Filed:12/14/2009 8s.

THE GRAND wry ¢ CHARGES:

a E noDuc nON

ok At a times 5 elevant to this indictoent in nthe Western Distict of Texas, asad . oe
Ly elsewhere, Defendants,

"CARLOS 8 FEREA,. aka “Shotgun?”

oe md others, were remembers and associates of a criminal cxpstztion engaged inmundey, atone’ es .

= / made, conspiracy. to commit murder, extortion, money andering, importation of controled i

oe controlled substances. “At all relevant tes, this organization has oped in he Wester District - .
- : of Texas and elsewhere, and has been and is skown as the Barrio hates) and will be referred to . a .
beta in ‘this indictment as s the “Basia Ate” or BA The BA, including its leader,
ener, and aisociates constitute an “enterprise” as defined by Title. 18, United Stotes Code, . -

iy - . Seat on nso) iar ‘the enterse) thats to ay, a group of individuals associated infact.

“USCAS 29.0

sument: 145 Page: 34 Date Filed: T271 47200T.~ howe

- “commerce; 5 saiowinely and intentionally di conduct and participate, directly and indict in the

_ Case: 09-50323- Document:145 Page:32 Date Filed: 12/14/2009 9. w2e

e TRICO) tr
“18 v. SC. 19626)

CARLOS PEREA, aka ca “Shotgu nS

_bengpersns employed by: and assoti jated wit the Bario Aiea dered mparaps : .

1 trough 1, above, sid enterprise sbeing engagedin activities which atfete, interstate and foreign

mo “condet of the attains of the enterprise trough a pattem af reckoning sca asset forth below .

on

~ USCAS3I

| the Westem District of Texas, ané elsewhere, the Defendan

oh Case: 09-50323 ..Document:145 — Page: 33: Date Filed::12/14/2009 9 is:

20: ‘The pee of racketeering activi as defined in Tt 3, United State Seton

19610) and 819616), consisted of the folowing acts:

~ jnovinly and intentionally, conspired, combined, confedertt an apa vii i, and oo

: 2 with others io the Grand Jury known and unknown, to coinmit offenses against the nied States, es

“in volaton of Title 18, Unite Stats (Code, ‘Section 19516 hat is to 0 Say they conspired to. 0 “

obstruct, doa aiid afet commerce as that termis defined in Tile 18, United State Code; Section

195100)0), and the movement ofa an side aid commodity insuch comnmnerce, byextoition, as: s that ae -

. term is defined in Tite 18, United Sates Code, Section 195. 100), in thatthe efodants di obtain’

and attempt to- obtain monelary instruments by extortion, and the property off ‘pesor known, and

. unknown with the consent of such persons, , vag been induced by the rong use of sctual and .

ratene free, violence and fear,

a Ani in violation of Title i8, United States. Cote, Section 1951(@).

cose

USCAS 32...

a Case: 09-50323 -' Document: 145: Page: 34 Date Filed: 12/14/2009

ing A sto : Conia to possess with invent to strut a: contra ebm

“2. ‘Begining 0 on or f about J aniaty: 1 2003, and continuing trough and incinding on or
_ about the date of the return not this indictment, bo dates being sopronimate and. inclusive, wvithin
4 ihe Wester District of Texas, ‘nd asevinere, the Defendants,

CARLOS PEREA, aka “Shotguo? ” o

a . - doowingly 2 and seine, empire, combine conte ad egroed tater, and. with

- “others to the Grand Jury) known and unkown, to conn offenses agrinst the United States, in, ee

“ violation of Title 21, ‘United States Code, Section 846, that is'to-say, they conspired to Possess ao.
controlled substante, which offense involved one. tlogram or more. ¢ of a mixture * substa e

oS containing a detectable amount of heroin, a Schedule q Controle Substance, with intent to

mar disubute same, , and they cospise to possess a controlled substance, which offense involved five ne

a Kilogrims 0 oF. more: of a site or oF Sub stance containing a detectable athount of cocaine, a Schedule
0 Contoted Substance with intent to distribute same, and they conspite to Possess a conttolled ° : .
substance, which offense involved 100 kilo grams ¢ or more of a mixture or substance containing a
seth amount of merjuans a Schedule 1 Controlled Substance,

. Allin violation of Title 24, United: States Cote, Sections 846 and 1K (a and S4n(O) KAYE a

- os and OREN
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* USCAS33

ri } Act The ec Conspiracy to launder atonetary instramen

2. 2, Begimingo On OF srabout I amaryl 1, 2008, nd continuing ioigha and inch
“the date of ihe retum of is 5 indictment, both, dates being eproximale and inc

| Wester District of Texas, ‘ind clseere, ihe Defendants,

_ CARLOS s PEREA,

. : “nowingly a inten yconspie, combine, nfederated: aged 10
other and others known and unkown to the Gran jury, t to commit offenses the United
: . Sites in viokition of Title 1s, Unie Sates Code ections 219 x0 és
sythey ona to scondict and attempt to. cond Gn Fin’ ial ta 3 a ion, a stateand / :

sori commerce, knowing | chat the propery in the financial transaction represen

a of some: fom af nlf tivity, to-wit; conspiracy to chitin monty instruments by extortion,
- baving been induced by the vg use of factual ind threaten force, violence fear and

- conspiracy posts with the intent to di sbut a contolied substance, and di

. to promote the carrying: onof the spate vnawil activi, and owing that ve Si :

. transaction v was: designed in whole ¢ or in n part to conceal and disguise the natute the location, the oe “a i

source, she owners and the onto! of the proce of the spetifid unlal activity, * a he oh =. =

Alli in violation of Title 18, United States Code, Sections SHAN KAOEO & and 5):

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USCS 34 2]

Case: 09-50323 ~.. Document: 145. Page: 36°. Date Filed: 12/14/2009 °°

- Raskeecring Ac Foyt Possession n of heron, w with intent to distribute.

“2. On or about at September 15 ; 2006, in n the ¢ Westem Distt of Teas, and esewber, the:

oS - . knowing ednenionliypssese within inte to distribute acootoled substance, vhichoftense

2 involved one kilo gram, or niore ofa shixfure oF substance cntinng adetectble. amount of bein,

me Schedule Cone Substance, oe

Alli in violation of Title 21, United States Code, Sections 3 OK and RHIAN.

ateeri i Ad. Five: Possesion of cocaine, with intent io distribute,

ry

28, 5, Beginning on ‘or about it November , 2006, and continuing through and ncdingo on 10F - . ve

“oe . ~ : the We estem n Distt of Texas, and cewher the Defendants,

a oy about the date of the refum n of this indicment, both dates being epproximat and inclusive, within in me

a saving einen ponent to distribute acontolled abt which a

involved five kilograms or. more of a mixture or substance « containing @ a detectable armouint of

cooaine, a Schedule q Conitolled Substance. oe

me Alli in violation of Tite 18, United States Code, Section 2, Title 24, United Sates Code, Sections -

. 846 and BA 0KANE..

“"USCAS35

_ Case:09-50323° ‘Document: 145 - Page: 37 . Date Files

2/14/2009

. saifon a Schedule 1 {Console S Substance,
" Alli in violation of Tite 8 ‘United Sites $ Code 2," j 21, nite Sta Sections oo

ne eaten) and MIEIOO.

y ‘Redsicit Act sans Marder, S

a act t cleal dangerous to human if that caused tied death of : in violation -

, of Texas Penal Code §1 19. 02(b)(2).

b On or: about December 6, 2006, in nthe Western District of Texas, Defendants

16 ae

 USCAS 36

. Case: 09-50323: Document: 145 - Page:.38 Date Filed: 12/14/2009 —

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. knowin, and 6 tein, conspired combined, confederate, and aged toga, and wih oo

we others to the Grand Jury known and sown to commit and attempt to commit ateony, other than : -

muslaghs and if the course ¢ of and in’ furtherance of the commission. ind ate, a in.
. . immediate bit fom ihe commission nand atemp, they commited and amped to commit an nact .
we clealy dangerous to human eta ane fo : _invioation of Teas 2 a

- Penal Code §.19. 20018).

Ali in violation of Title 18, United States Code 19626).

 USCAS 37°

Case: 0950323: Document: 145. Page: 39 . Date Filed: 12/14/2009

count two — a
NES Conspiracy)
_ ABUS.C $1962).
28 , Pare 1 tough 7 of the introduction £0 this indictment are herby alg and
. incorporated by reference as. if fully sét forth herein.

129. Beginning on or 2 about J amiary, v1, 2003, ‘and continuing thereat tous and including

oe on or. about the date of ther return of this indictment, Path dates being spproximae and inclusive, Bo

within athe Westem District tof Teas, tod elsewhere, the Defendants, oe

"CARLOS PBREA, aka “Shiga,” ks

Oo - tnd ot others known and unknown, ing persons cnployed by: and essocated with the Barrio io Anteos oes
- Baterprise, an n enterprise described mn paragraphs 1: trough 17 of the introduction to ‘this indiounent,
wii, engaged in, and the activities of which affected interstate and foreign commerce, knowingly, - -
and intentional conspired, combined, confederated, snd agreed together, and with otters to the -
Grind Jury no and unknown, to violate Title 18, United States Code, Section 962) that is to -

say, t to conduct and papa, directly and nde inthe conductof the affairs of that enterprise

Be saougha spate of racketeering activity, 2 as that term is defined i in Sections 1961(1) a and 196165) -

".-USCAS 38

“Case; 09-50323 -. Document: 145° Page: 40 . Date-Filed: 12/14/2009"

: ‘off Title 18, United Sits Cote, consiing miles inde eflloing rove -
fadeatans ce oe
me A. ° “1BUSC. 5 1951 (extortion and jobmircy to com exertion
ae we US. Cc . 1956 (eoney laundering and conspiracy tol dee monetary

~isruments)

oo wod lil acts iolvings nareotits raking ining hoo, 00! a

- . and ie acts chargeable ander the 3 flovng provisions “of state W!.

D.- “Toias Penal Code, Section 19 9.02(0) (Mud).

- 40. It was a 5 further part of the conspiracy that each defendant aged tat conspirator would d a L

. commit at least two acts of racketeering activity in the conduct of the affair of the enterprise.

ov BRT. ACTS.

~ USCas39.
Te es “Case: 09-50323 - Document: 145... Page: 41 . Date Filed: 12/1 4/2009. :. oe

USCAS 40°

~~ Case: 09-50323 Document: 145°. Page: 42 Date Filed:12/14/200

5.

“149. distribute same, and they conti to posses five eblogrs 0 or more eof a mixture or Substance Me IA

21, United States Code, Sections. 846 and 8400610) and EAI OXIAKD and ¢

oe containing a deel amount of cocaine, with intent to. diatbute saine. All in Violation of Title -

28. On of shout September 15, 2006, in the Wester District of Tea, md elsewhere, the

sete, ve wae. : - oe - Ioowingy nd itentonlypssesed vita ,

: intent io distribute one kilogram’ or more of a mixture or sub stance containing a  dlctabe ammount

of heroin. Alli in 1 Vilation of Title 21, United States Code, Sections e4i(@X0) and BHLONLAND. a

229, Beinn 0 on or about Jaiary I 2008, and continuing through and inching on, oF

oo about the date of ter return nof this indictment, Both dates being approximate and inclusive, within : :

-SCAS AE

. Gase: 09-50323. .. Document: 145. Page: 43.- Date Filed: 12/14/2009. ~

oo the: Westem Distiet of Texas, and. elsewhere, the dete,» ho

_ knowingly and intentional jsssed with intent to distribute a contolled substance,

. HOLA.

- 230. ‘One or. about 9 Decener 6, 2006, in the Wester District of Texas, Defendant,

oe wich offense involved five tlogras or more ofa a mixture or substance containing a 1 deteciable vos

- amount of cocaine. All in Violation of Title “o aited States Cove, Sections 846 ‘ad _

“lowing, and intentionally, cone, combined, confer, ae

and apred with others to the Grand Jury known and unknown, to cause serious sbolly injury, and

~ to commit an n act clearly dangerous to bun life that caused the death of oo. os. : . in: a

vio violation of Texas Penal Code § 19. 0200).

. ma. On or F abot Decerter 6, 2006, i in the Wester District of Texas and elsewhere, a -

a . “defindeis. - oy wd a | oe ftn . ap a ~ knowingly, and..

intentional, conspired combine, confederate, and apes with each other and with others to the

‘Grand Jury known and unknown, and did unlawfilly attempt té commit a. felony, other than a

a iminediate ight from thec cornmission nad attempt, theyea committed and attempted tocommit an ae

. manslghte, and i in. 1 the course of andi in furtherace of the: commission and ‘attempt, and ins

- clearly dangerous to haman life that caused the death of! oo - 7 in violation not Texas

oS "Penal Code § 19. 2.0201).

53:

 USCAS42

Case:,09-50323 Document: 145 Page: 44 Date Filed:#2/14/2009. 7.0

- GOUNT E

” Gobbs Act Conspiracy).

. 18 U.S.C: §:1951

232: Begining on or about 3 anuary 1 1 2003; and 3 conning teh

the Westem District of Texas, and elsewhere, the Defendants,

ioowingly ead intentionally coped conbined, 1, confderatd and aged j

with, others 6 the Grand I ty known and uaknowa, to commit offenses saint the United Sates, we

- mn violation of Title 18, United States Code, Section 1951) tht i is to ‘say

oe obstruct, clay anda, commerce, a that erm is defindin Tite 18, Unie Sates Code, Seaton oo

- 19510010) and the movement of an: vartile and comnodityin sthscommerce, by tortion as thal

term is sdefined inTile 18, United States Code, Section 195 100) 8 in that the ¢ fe fe

ts  ddbten a
: and atempt to obtain monetary instrument by extortion, ‘and the property of DE kno
unlenown with the consent of such persons, eving been induoed by the wrong of anual and - .

treated force, , violence ind feat. oe :

Alli m violation of Title 18, Unite States Code, Seaton 19516).

USCAS 43.

~~ Case-09-50323:- Document: 145» Page: 45 Date Filed: 12/14/2009 -

oe ‘ 28 : . / : / . fe

- : ~ count FOUR. o
(Conspiracy to Lau nder Monetary Instruments) -
~ 18 U. 8. C. 1956 @OAOBO: and (h) oe
Mh 3.3 Begining on. or about Janay 1, 2003, and continuing trough and including 0 on or .
“about the date of the sefum of this indictment both date being approximate a and inclusive, within

the Western District of Texas, and elsewhere, the Defendants,

- CARLOS PEREA, aka “Shogun,”

: “gowingly and insenionally conspired, combined, confederited and aged wpe and witheach = ao

: “ . ‘other and. others iowa and unknown, to the Grand uy to cori offenses agin the United oe we

f ‘States, in violation of ile 18, United States «Code, Sections 1956KINANO and @)i), that 840. -

: ‘ay they conspire to conduct and attempt to conde a financial transaction, affecting interstate and

eo fori commerce, imowing that the property in the financial transaction represented the proceed

: oft some form of inlaw activity, to-wit, conspiracy. to obtain monetary instrurents ty extortion,

- : having been induced by the wrongful use of actual and tveatene force, viletice and fear and

Sty conspiracyto possess wit the intent to distribute a controlled substance, and aid 50 With the sole,

to "promote, ‘the carrying on sof the specific unl activin, and knowing tht the financial .

transaction was a designed i in whole orm part to conceal and disguise ihe nature, the location, the.

co source, the ownership, and the control of the procéeds of the specified unlawful stiviy

s . : All in violation of Title 18, Unite States. Cole, Sections 195) A NEI and th)

USCAS 44.

Case: 09°50323——_Document: 145" Page: 46" Date Filed: ¢2/1472009.—

- (Canspiracy to possess with intent to distribute heroin; coc :
a U. s. C. Ae 846, and: Bala) a and BALOXIANO ae) ad Xl

conve subitance, which offense involved ‘one Kilogan o or more of a mixture. of substance

- containing a a detectable amount of ero, a ‘Schedule a Contre é Substance with intent to.

- sisnibute same, and they copied to poss a controlled substance, which offers avoved five eS

1 kilograms or more of a mixture or substance containing a detectable arnount 2 ofocen, a Schedule

4 violation af Tile 2, United States Code, Section 6, thats to 0 Bt, 2 opie yo an

. tl Controlled substance, with intent to o distribute same, and they consid to possess noontrolled

ogg substatie, whigh offense involved} 100 bloga 0 or. more ‘of a mixture or substance containing a

56

--USCAS 45

Case UF SUS2S ~ Document: 145. ‘Page: 47 . Date File

12/14/2009

ng detectable amount of marijuana, a Schedule I Controlled Substance,

- All iaviolation of Title 21, United States Code, Sections 46 ad nd 41040 and 84

/ and SNK

- Possession of heroin witht intent toid distribute) .
a al U. s L. 88 B4(ay() and BIOKNAIG)

court
ao (Possession, of cocaine with: intent: to distribute)
2 U. 8. C. a6 841(2) and 1d 841 (O)EKAXG)

236. ‘Begiming on oF about te anuary 1, 2008, and continuing trough and ink juding on or.

about the e date of the return niof this. s indictment both. dates being approximate and jisive, within -

: the § Western District of Texas, and elsewhere, the Defendants

o joizgly and inetonaly poses iinet dtbuteacontoldsndane, which offense
involved five kilograms, or: more of a mainte or substance containing a detectable. amount of
cocéine, a. Schedule I Controlled Substance.

. All in violation of Title 21, United States Code Sections 3 1090) and HICKMAN).

37°

- USCAS 46.
~~ Case: 09-50323" Document: 145 ~Page: 48.: Date Filed: 12/14/2009

“COUNT THGHT a be
Possession of ¢ cocaine with intent to dsibute)
a US. C. § Bada) and B41) EIB)
27. Beginning on or about January 1, 2008, ‘and continuing through and inchding on of
about the date of theretur of this indictment, both dates being sproxiale and inclusive, vwithin ns : oe

the Westen Diotiet of Tex and sewbere the Defendants,

knowin and intenioaallypostessed with intent to distribute acontrolled substance, which offense eee

involved s00 grams 0 or more of a mixture: oF substance containing a detectable amount ofe cocaine, Lopes
a Schedule i Contod Substance. a

~All im violation of Tite 21, United States Code, Sections saan: and sxreoCE

COUNT NINE
“al USC. 6 844 (a)(1) and B4 100,10)

D8. That on or about Senter 7, 200745 in athe Western Distt of Texas, Defendant,
knowinglya and intentionally possessed with intent to distribute a controlled substance, whichofense
- involved 30 kilograms or mote. of a thixture or substance ¢ containing a detectable amount of |
| ‘aijana, a a Schedule I Controlled Substance

. Ali in Violation ‘of Title i, United States Code, Sections eHl9s and H10KKO)

2. oUSCAS 47.

~, Case: 09-50323. Document: 145° Page: 49. Date Filer

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OW jolent crimes in. aid of ackterng acti)
18 vU. S. ¢. 193903) and(2) ~

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239, eins (on OF about Tan 2003, dco eh including 0 onor -

sen 590) 96), ants abag mun vii of ex sae law, and - OSs

o - natcoties wwaffcking in violation of. Title 41, United States Code, Sections ai 46, and aot . WBS wo

oe indiciable undet Settions 1951 (extn and 1956 (aoney nude) 9 of Tit

Cote.

“241. On or about January 26, 2006, and continuing tou and inclu K

0 about the

ited States .

og date of the return éf this indictment, both dates being approximate and incusive, within the Western wd .

District of Texas, and elsewhere; as consideration for the receipt of and as consideration for a

. promise and an agrees to pay ys anything of pecuniary value from dhe Bartio Aare, and for the .

~ purpose ‘of scining entrance to and maintaining and increasing g postion in n the Bais Aztec, an

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USCAS 48.

~- , Case:09-50323 . Document: 145 - Page: 50" ~ Date Filed: 12/14/2009
"enterprige engaged in fécketeering activity, the defentant,
- knowinaly, and intentionally sled IMA, sesoling i in, serious us bodily injury, in n violation of

- Texas Penal Code, Section 92, 0212).

All in violation of Title 18, United States Code. 195943) and 1

wl, ~ CouNT ELEVEN
- (itnrder: in aid of racketeering activity; D

18 BU. S. Cc. 1959(a)(1) and Q)
2a. Pangani 039 and 240 ate erellege and incorpo ty reference as bough sel forth
fly herein. wa
28, Onor about Tenuaty 2006, and continuing oh and ncn on or orabout the date
of the return, of this indictment, both dates being approximate and inchisive, within the Western : .
Distt of Texas and | aewhee, as © consideration for the seep of, and as consideration fr ra
4 promise cand an a agreement to Psy, anything of pecuniary value from the Barrio Azteca, and. fot the .
purpose of gaining ‘ehirance to and maintaining and increasing poston in n the Barto Ate an :

cnepie engaged in racketering psig t the. defendants,

: . knowingly, and intentionally and vil intending to cause serious bey injury dd commit an 1 act
clearly dangerous to human life, and while commiting and attempting to commit a ony, other
than manslaughter and in the course of and. in furtherance of the commission and tempt and in - .

. immediate flight from the commission and attempt, committed and attempted to” comamnit an act

ne «cial degetos taluntn ie ad caused the death of oe oe we in violation of Tens

USCAS 49

Jocument: 145. Page: 51... |

200) & Q.

oe Penal ei Coie, Seaton 19

- . Alli in vialaton af Tite 18 Unied § States Cote,

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“JOBNNY SUTTON”
‘UNITED STATES A ATTORNEY.

" USCAS 52.”
= t:145 Page: 54~~Date Fited: t2/t472003 7

ee a A\UN THERUNITED STATES DISTRICT COURT PILED
2 ck WESTERN DISTRICT OF TEXAS
Wr stot _¢ EL PASO DIVISION
Eee ee OH
eee ee

UNITES EH SOF AMERICA,

¥S

CARLOS PEREA, (1)

aka “Shotgun,”

MANUEL CARDOZA, (2)

aka “Tolon,”

BENJAMIN ALVAREZ, 3)
aka “T-Top,” —

EDUARDO RAVELO, @)

aka “Tablas,”

MIGUEL ANGEL ESQUEDA, (5)

aka “Angelillo,”

GUSTAVO GALLARDO, (6)

aka “Favo,” ,

EUGENE MONA, (7)

aka “Gino,”

JOSE MARTIN GARCIA, (8)

aka “Spider,”

ROBERTO DURAN, (9)

aka “Niteowl,”

DANNY TARIN, (£0)

JOHNNY MICHELLETTI, (11)

aka “Conejo,”

SAID FRANCISCO HERRERA, (12)

aka “Shorty,”

ADAM MUNOZ, (13)

aka “Serio,”

ERIC SAUCEDO, (14)

aka “Flaco,”

ARTURO ENRIQUEZ, (15)

aka “Tury,” and

SANDY VALLES NEW, (16)

aka “Guera.”

EP-08 CR-059-DB

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ORDER TO UNSEAL INDICTMENT
On this date, came on to be considered the Government’s Motion to Unseal the Indictment
in the above entitled and numbered cause, and the Court having considered the same, is of the

opinion that said Motion should be GRANTED.

USCAS 216

Case: 09-50323 #$Document:145 Page:55 Date Filed: 12/14/2009

IT IS THEREFORE ORDERED that the Indictment in the above entitled and numbered
cause be, and is hereby UNSEALED.

SIGNED AND ENTERED this the 3 day of November, 2008.

(Lh

TED STATES MAGISTRATE JUDGE

USCAS 217

Case: 09-50323 Document:145 Page:56 Date Filed: 12/14/2009

TAB 4

Judgment/Sentence
Case: 09-50323 Document:145 Page:57 Date Filed: 12/14/2009

UNITED STATES DISTRICT COURT yy LEQ
Westem District of Texas ERIS tH 9
. CL .
a EL PASO DIVISION HEB 1 a .
UNITED STATES OF AMERICA ty Lee ‘Soup,
uw Case Number ep.o9-cr se Dat) aA Xs
wo USM Number 48383-080 Ur
CARLOS PEREA aka "Shotgun"
Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant, CARLOS PEREA aka "Shotgun", was represented by Gary Weiser.

The defendant was found guilty on Counts 1,2,4,5 by a jury verdict on December 2, 2008 after a plea of not guilty.
_ Accordingly, the defendant is adjudged guilty of such Counts, involving the following offenses:

‘Title & Section Nature of Offense Offense Ended Count (s)

18 U.S.C. 1962(c) ‘Engaging in the affairs of an enterprise 1-1-2003 and continuing 4
. through a pattern of racketesring activity - thereafter through and including
, on or about the retum of this indictment
18 U.S.C. 1962(d) Conspiring to conduct the affairs of an enterprise 1-1-2003 and continuing 2
~ through a patter of racketeering activity thereafter through and including

on or about the date of the retum .
of this indictment
. 4
18 U.S.C, 1956 - Conspiring to launder monetary instruments 1-1-2003 and continuing through
- , and including on or about the date of the
return of this-indictment

21 U.S.C. 844 Conspiring to possess with intent to distribute 1-1-2003 and continuing through = §
and 846 > one kilogram of heroin, > five kilograms of and including on or about the date
cocaine and > 100 kilograms of marijuana + _ of the return of this indictment

As pronounced on April 13, 2009, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence | is imposed pursuant to the Sentencing Reform Act of 1984.

It is further ordered that the defendant shall notify the United States Atiomey for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attomey of any
material change i in the eh circumstances.

Signed this the 4 ey of April, 2009.

Kr [oe
7 BAVID BRIONES
United States District Judge

USCAS 1607
Case: 09-50323 Document:145 Page:58 Date Filed: 12/14/2009

AO 246 B (Rev. 06/05)(W.D.TX.) - imprisonment
—

Judgment—Page 2
Defendant: CARLOS PEREA aka "Shotgun"
Case Number. EP-08-CR-59-DB(1)
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
Life on each of Counts One(1), Two(2),Five(5) and 240 months as to Count Four(4) to be served concurrently, sentence
imposed to be served consecutively with the sentence imposed in Cause Number EP-01-GR-1437-DB in the Western District
of Texas, El Paso Division.

The Court makes the following recommendations to the Bureau of Prisons:

’ That the defendant serve this sentence at U.S.P., Pollock, Louisiana.

The defendant shall remain in custody pending service of sentence.

RETURN

| have executed this Judgment as follows:

Defendant detivered on . to

at , with a certified copy of this Judgment.

United States Marshal

Deputy Marshal

USCAS 1608
Case: 09-50323 Document: 145 Page:59 Date Filed: 12/14/2009

|
!

AO 245 B (Rev. O6/05)W.0.7X} ~ Supervised Release
. a ~ Judgment—Page 3 -
. Defendant: CARLOS PEREA aka "Shotgun". ,
Case Number: EP-08-CR-59-DB(1}

SUPERVISED RELEASE

_ Upon release from imprisonment, the defendant shall be on non-reporting supervised release for a tarm of 5 years on
aach of Counts One(1), Fwo(2),Five(5) and 3 years as to Count Four(4) to be served concurrently.

While on.non-reporting supervised release, the defendant shall comply with the mandatory, standard and if applicable,
the special conditions that have been adopted by this Court as set forth on pages 4 and 5 of this judgment; and shall comply
with the following additional condition:

x The mandatory drug testing provision of the Violent Crime Control and Law Enforcement Act of 1994 is
suspended. . .

USCAS 1609
Case: 09-50323 Document: 145 Page:60 Date Filed: 12/14/2009

Judgment-Page 4

Defendant CARLOS PEREA aka "Shotgun"

Case Number: EP-08-CR-59-DB(1) -
CONDITIONS OF SUPERVISION

- Mandatory Conditions:

1) The defendant shall not commit another federal, state, or local crime.

2) The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defandant shall submit to one drug test within 15 days of release from imprisonment and at
least two periodic drug tests thereafter, as determined by the court.

3) ‘In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
~ released within 72 hours of release from custody of the Bureau of Prisons.

4} If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.

5) The defendant shall cooperate / in the collection of DNA as directed by the probation officer if the collection of such a
" sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14134).

6) If convicted of a sexual offense as ‘described i in 18 U.S.C. § 4042(c}4), the defendant shall register with the state sex -
offender registration agency in the state where the defendant resides, works, or is a student, as directed by the probation
officer.

7) if convicted of a domestic violence crime as defined in 18 U.S. C. § 3561(b), the defendant shalt paricpate in inan approved
"program for domestic violence.

8) If the judgment imposes a fine or restitution, itis a condition of supervision that the defendant pay in accordance with the
‘Schedule of Payments sheet of the judgment.

Standard Conditions:

14) The defendant shall not leave the judicial district without permission of the court or probation officer.

2) The defendant stiall report to the Probation Officer and shall submit a truthful and complete written report within the first
five days of each month.

3) The defendant shall answer truthfully all inquires by.the Probation Officer and follow the instructions of the Probation
. Officer, -

4) The defendant shalt support his or her dependents and meet other family responsibilities,

5) The defendant shall work regularly at a lawful occupation unless excused by the Probation Officer for schooling, training or
other acceptable | reasons.

6) The defendant shall notify the Probation Officer at least ten days prior to any change | in residence or employment.

7) ~The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
any controlled substance or any paraphernalia related to any controlled substance, except as prescribed by a physician.

8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9) The defendant shall not associate with any persons engaged In criminal activity, and shall not associate with any person —
convicted of a felony unless granted permission to do so by the Probation Officer.

10) The defendant shall permit a Probation Officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed i in ptaln view of the Probation Officer.

11} The defendant shall notify the Probation Officer within seventy-two hours of being arrested or questioned by alaw
enforcement officer.

12) The defendant shail not enter into any agreement fo act as an informer or special agent of a law enforcament agency
without the permission of the Court.

13} As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
- defendant's criminal record or personal history or characteristics and shall pennit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.

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14) If convicted-of a sexual offense as described in 18 U.S.C. § 4042(c}(4), or has a prior conviction of a State or local offense
that would have been an offense as described in 18 U.S.C. § 4042 (c)(4) if a circumstance giving rise to Federal
jurisdiction had existed, the defendant shall participate in a sex offender treatment program approved by the probation
officer. The defendant shall abide by ail program rules, requirements and conditions of the sex offender treatment
_ program, including submission to polygraph tasting, to determine if the defendant is in compliance with the conditions of
release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amounttobe —
determined by the probation officer, based on the defendant's ability to pay.

15) The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation
officer, and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the
probation officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing and ,

examination to determine if the defendant has reverted to the use of drugs or alcohol. The defendant may be required to
contribute to the cost of the services rendered (copayment) in an amount to-be determined by the probation officer, based
upon the defendant's ability to pay. . - ot :

16) The defendant shall. submit to an evaluation for mental health counseling as directed by the probation officer, and if
deemed necessary by the probation officer, the defendant shall participate in a mental health program approved by the
probation officer. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
amount to be determined by the probation officer, based upon the. defendant's ability to pay.

17) If the defendant is excluded, deported, or removed upon release from imprisonment, the term of supervised release shail
be a non-raporting term of supervised release. The defendant shall not illegally re-enter the United States. ° if the
defendant lawfully re-enters the United States during the term of supervised release, the defendant shall immediately

~ report in person to the nearest U.S. Probation Office.

18) if the judgment imposes other criminal monetary penalties, itis a condition of supervision that the defendant pay such
penalties in accordance with the Schedule of Payments sheet of the judgment. :

19) Ifthe judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, itis a condition of
supervision that the defendant shall provide the probation officer access to any requested financial information.

20) if the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
- supervision that the defendant shail not incur any new credit charges or open additional lines of credit without the approval
of the probation officer unless the defendant is in compliance with the payment schedule. .

The Court further adopts such of the following special conditions applied to the supervised person by the judge at the fime of
sentencing: ,

1) COMMUNITY CONFINEMENT: The defendant shall reside in a Community Corrections Center for a period of _<7
months to commence on . Further, once employed, the defendant shall pay 25% of his/her weekly gross
income for his/her subsistence as long as that amount does not exceed the daily contract rate.

2). HOME DETENTION: The defendant shall participate in the Home Confinement Program for a period of _
daysimonths. During this time the defendant shall remain at his/her place of residence except for employment and other
activities approved in advance by the probation officer. The defendant shall maintain a telephone at his/her place of
residence without “call forwarding,” a “modem,” “caller ID,” “call waiting,” or portable cordless telephones for the above
period. At the direction of the probation officer, the defendant shall wear an electronic monitoring device and follow
électronie monitoring procedures specified by the probation officer. The court further orders that the defendant shall pay
for the costs of Home Confinement, as directed by the probation officer.

3} COMMUNITY SERVICE: The defendant shall perform 2 hours of community service work without pay, at a location
approved by the probation officer, at a minimum rate of four hours per week, to be completed during the first
months of supervision.

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CRIMINAL MONETARY PENALTIES/ SCHEDULE

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal
Bureau of Prisons’ Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 511 E..
San Antonio Street, Room 219 Ei Paso, Texas 79901.

The defendant shall receive credit for ail payments previously made toward any criminal monetary penalties imposed.

Assessment - Fine | Restitution
TOTAL: $400.00 _ $2,500.00 $0°

Special Assessment

~ {tis ordered that the defendant shall pay to the United States a Special assessment of $400: 00. Payment of this sum
‘shall begin immediately.

Fine

The defendant shall pay a fine of $2,500.00. Payment of this sum shall begin immediately. The Court determines that .
the defendant does not have the ability to pay interest and therefore waives the interest requirement pursuant to 18 U.S.C. §
3612(f{3). The fine is below guideline range because of the defendant's inability to pay a fine within the guideline range.

4 the defendant makes a partial payment, each payee shall receive an sn approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all
non-federal victins must be paid. before the United States is pald.

if the fine is not paid, the court may sentence the defendant to any sentence which might have been criginally imposed.
See 18 U.S.C. §3614.

The defendant shail pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

Payments shall be apptied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court
costs.

Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.

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TAB 5

Certificate of Service
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CERTIFICATE OF SERVICE

I, John Gates, certify that on December 12 , 2009 one copy of the brief and
record excerpts, in both paper and electronic form, together with the official record
in this case consisting of 1 volume of the clerk’s record and 16 volumes of the
reporter’s record, in electronic form, were served upon the United States
Department of Justice, through Mr. Joseph Gay, Jr., Chief of the Appellate Section,
601 NW Loop, 410 Ste. 600, San Antonio, Texas 78216, by first-class mail. I also
certify that a copy of the brief and record excerpts were served on Mr. Carlos
Perea, #48383-080, USP Pollack, U.S. Penitentiary, P.O. Box 2009, Pollack, LA

71467, by first-class mail.

john D. Gates

Attorney for defendant-appellant

/s/John D. Gates

